Case 2:23-cv-21849-CCC-JRA Document 7-3 Filed 01/16/24 Page 1 of 2 PageID: 166

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      Attorneys for Defendants
                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


       DAVID J. LORENZO,                                          Hon. Claire C. Cecchi, U.S.D.J.
                       Plaintiff                                  Hon. José R. Almonte, U.S.M.J.
       vs.

       THE BOROUGH OF PALISADES                           Civ. No.: 2:23-CV-21849-CCC-JRA
       PARK, NEW JERSEY; CHONG
       PAUL KIM (individually and in his                                   A Civil Action
       official capacity as Mayor of the
       Borough of Palisades Park, New                          CERTIFICATION OF SERVICE
       Jersey); and SUK “JOHN” MIN
       (Individually and in his official
       capacity as a member of the Borough
       Council of Palisades Park, New Jersey)
                              Defendants.


      I, R. Scott Fahrney, Esq., being of full age, herby certifies as follows:

         1. I am an Attorney at Law of the State of New Jersey, licensed to practice before this Court,

             and am a Partner of the Law Firm of Semeraro & Fahrney, LLC.

         2. I hereby certify that the within Notice of Motion, Memorandum of Law, Certification of

             Counsel, Certification of Service, and proposed form of order were filed electronically with

             the Clerk of the United States District Court on behalf of Defendants on January 16, 2024

             via CM/ECF Electronic Filing.

         3. I further certify that copies of the Notice of Motion and supporting documents were served

             on the following via ECF and Email:

                                          Richard Malagiere, Esq.
                                    Law Office of Richard Malagiere, P.C.
                                      250 Moonachie Road, Suite 300A
                                       Moonachie, New Jersey 07074



                                                                                                    #3283112
Case 2:23-cv-21849-CCC-JRA Document 7-3 Filed 01/16/24 Page 2 of 2 PageID: 167




      I certify under penalty of perjury that the foregoing statements are true and correct.

                                                            Semeraro & Fahrney, LLC
                                                            Attorneys for Defendants


                                                            By:
                                                                    R. Scott Fahrney, Esq.,

      Dated: January 16, 2024




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                                                                                               #3283112
